           Case 4:14-cv-03928-DMR Document 48 Filed 10/31/14 Page 1 of 3



 1   Frank S. Hedin (CA Bar No. 291289)
     fhedin@careyrodriguez.com
 2   CAREY RODRIGUEZ
     O’KEEFE MILIAN GONYA, LLP
 3
     1395 Brickell Avenue, Suite 700
 4   Miami, Florida 33131
     Telephone: (305) 372-7474
 5   Facsimile: (305) 372-7475
 6   Attorney for Plaintiff/Counter-Defendant
     Rothschild Digital Media Innovations, LLC
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10
                                             (San Jose Division)
11

12   ROTHSCHILD DIGITAL MEDIA                                Case No. 14-CV-3928 (PSG)
     INNOVATIONS, LLC,
13                                                               PLAINTIFF’S CERTIFICATE OF
                            Plaintiff,                           INTERESTED ENTITIES OR
14                                                               PERSONS PURSUANT TO CIVIL
     vs.
                                                                 LOCAL RULE 3-16 AND FED. R.
15                                                               CIV. P. 7.1
     SONY COMPUTER ENTERTAINMENT
16   AMERICA, LLC,

17                         Defendant.
18
              Pursuant to Civil L.R. 3-16, the undersigned certifies that the following listed persons,
19
     associations of persons, firms, partnerships, corporations (including parent corporations) or other
20
     entities (i) have a financial interest in the subject matter in controversy or in a party to the
21
     proceeding, or (ii) have a non-financial interest in that subject matter or in a party that could be
22
     substantially affected by the outcome of this proceeding:
23

24
                  Mr. Leigh Rothschild: Financial interest in Plaintiff Rothschild Digital Media
25                   Innovations, LLC.
26
     //
27   //
     //
28
     //
        Case 4:14-cv-03928-DMR Document 48 Filed 10/31/14 Page 2 of 3



 1   Dated: October 31, 2014                      By:      /s/ Frank S. Hedin_______________
                                                          Frank S. Hedin (CA Bar No. 291289)
 2                                                        fhedin@careyrodriguez.com
 3                                                        CAREY RODRIGUEZ
                                                          O’KEEFE MILIAN GONYA, LLP
 4                                                        1395 Brickell Avenue, Suite 700
                                                          Miami, Florida 33131
 5                                                        Telephone: (305) 372-7474
                                                          Facsimile: (305) 372-7475
 6

 7
                                       CERTIFICATE OF SERVICE
 8
            I hereby certify that on October 31, 2014 I electronically filed the foregoing document with
 9
     the Clerk of the Court using the CM/ECF filing system. I also certify that the foregoing document
10

11   is being served this date on all counsel of record on the Service List below in the manner specified,

12   either via transmission of Notices of Electronic Filing generated by the CM/ECF system.

13

14
                                                          /s/ Frank S. Hedin_______________
15                                                        Frank S. Hedin (CA Bar No. 291289)

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     PLAINTIFF’S CERTIFICATE OF INTERESTED ENTITIES AND PERSONS
     Case No. 14-CV-3928 (PSG)
                                         2
       Case 4:14-cv-03928-DMR Document 48 Filed 10/31/14 Page 3 of 3



 1                                           Service List
 2   Michael J. Curley (CA Bar No. 230343)
 3   Michael.Curley@quarles.com
     Nikia L. Gray (pro hac vice)
 4   Nikia.Gray@quarles.com
     QUARLES & BRADY LLP
 5   One South Church Avenue, Suite 1700
     Tucson, AZ 85701
 6   Telephone: (520) 770-8700
 7   Facsimile: (520) 770-2206

 8   David R. Cross (pro hac vice pending)
     David.Cross@quarles.com
 9   QUARLES & BRADY, LLP
     411 East Wisconsin Avenue
10   Milwaukee, WI 53202
11   Phone: (414) 277-5669

12   Gregory P. Sitrick (pro hac vice)
     Gregory.Sitrick@quarles.com
13   QUARLES & BRADY, LLP
     One Renaissance Square
14
     Two North Central Avenue
15   Phoenix, AZ 85004
     Phone: (602) 229-5200
16
     Christopher J. Fahy (pro hac vice)
17   Christopher.Fahy@quarles.com
     QUARLES & BRADY LLP
18
     300 North LaSalle Street
19   Suite 4000
     Chicago, IL 60654
20   Phone: (312) 715-5000
21   Krista Celentano (CA Bar No. 279526)
     Krista.Celentano@dlapiper.com
22
     DLA Piper LLP (US)
23   2000 University Avenue
     East Palo Alto, CA 94530
24   Phone: (650) 833-2000
25   Jeremy T. Elman (CA Bar No. 223696)
26   Jeremy.Elman@dlapiper.com
     DLA Piper LLP (US)
27   200 South Biscayne Blvd., Suite 2500
     Miami, FL 33131
28   Phone: (305) 423-8514

     Case No. 14-CV-3928 (PSG)
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